                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON




 STATE OF OHIO,                                   Case No. 3:21-cv-00064-TMR

                     Plaintiff,                   District Judge Thomas M. Rose

            v.

 GINA RAIMONDO, in her official ca-
 pacity as Secretary of Commerce, et al.,

                     Defendants.



                     JOINT MOTION TO HOLD CASE IN ABEYANCE
       On May 19, 2021, the Sixth Circuit remanded the above-captioned case to this

Court and instructed that “the district court should treat this matter expediently.” ECF

Nos. 33, 35. The parties have conferred and now jointly move to hold this case in abey-

ance subject to the following terms:

       1.        This case shall be immediately held in abeyance.

       2.        Defendants agree to provide Ohio with the redistricting data required by

13 U.S.C. §141(c), in a legacy format, no later than August 16, 2021.

       3.        Defendants further agree to provide the Court with updates regarding

whether the Census Bureau still anticipates providing the data to Ohio no later than Au-

gust 16, 2021, to be filed on the following dates:




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        Because Gina Raimondo was confirmed as the Secretary of Commerce, she has
been automatically substituted for Wynn Coggins, the former Acting Secretary of Com-
merce, under Federal Rule of Civil Procedure 25(d).


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       •    June 14, 2021
       •    June 28, 2021
       •    July 12, 2021
       •    July 26, 2021
       •    August 2, 2021
       •    August 9, 2021
       4.        On each respective date, Defendants will file a notice with the Court stating:

“As of this [Date of Notice], the Census Bureau anticipates providing Ohio with the re-

districting data required by 13 U.S.C. §141(c), in a legacy format, no later than August 16,

2021, absent congressional action, orders from any court, or unforeseen processing issues
that may prevent Defendants from providing such data by August 16, 2021.” Should any

events change the anticipated delivery date, Defendants will provide further information

in the notice.

       5.        This Court shall retain authority to enforce the terms of this agreement.

       6.        Because this matter would be resolved if Ohio receives the redistricting data

required by 13 U.S.C. §141(c), in a legacy format, no later than August 16, 2021, Ohio

stipulates and agrees to dismiss this case without prejudice if the Census Bureau provides

Ohio with such data by August 16, 2021.




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DATED: May 25, 2021                        Respectfully submitted,

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Ohio Attorney General                      Acting Assistant Attorney General

/s/ Benjamin M. Flowers                    ALEXANDER K. HAAS
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                                           Counsel for Defendants




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                              CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2021 a copy of the foregoing pleading was filed

electronically. Notice of this filing will be sent to all parties for whom counsel has en-

tered an appearance by operation of the Court’s electronic filing system.


                                                  /s/ Benjamin M. Flowers
                                                  BENJAMIN M. FLOWERS* (0095284)
                                                  Solicitor General
                                                  *Trial Attorney




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